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                                    UNITED STATES DISTRICT COURT
                                  FOR THE EASTERN DISTRICT OF TEXAS
                                         MARSHALL DIVISION


         BillJCo, LLC,

                  Plaintiff,

                  v.                                                     Case No. 2:21-cv-181
                                                                         (Lead Case)
         Cisco Systems, Inc.,

                          Defendant.

         BillJCo, LLC,

                          Plaintiff,
                                                                       Case No. 2:21-cv-00183
                  v.                                                   (Member Case)

         Hewlett Packard Enterprise Company, Aruba
         Networks, LLC

                          Defendants.



      DECLARATION OF MATTHEW VEENSTRA IN SUPPORT OF PLAINTIFF’S
            RESPONSE TO DEFENDANTS’ MOTION TO TRANSFER

         I, Matthew Veenstra, hereby declare and state as follows:

             1.   I am a lawyer licensed to practice in the State of Minnesota. I am an attorney for

Plaintiff BillJCo, LLC in the above captioned lawsuit and my application for admittance pro hac

vice is currently pending.

             2.   On January 25, 2022 I spoke with Craig Yudell via telephone. He told me that he

would be willing to attend a trial in this lawsuit if it was held in Marshall, Texas, but that he

would not be willing to do so if the case were transferred to the Northern District of California.




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             3.           On January 25, 2022 I spoke with Lev Sofman via telephone. He told me that he

would be willing to attend a trial in this lawsuit if it was held in Marshall, Texas, but that he

would not be willing to do so if the case were transferred to the Northern District of California.

             4.       On January 25, 2022 I spoke with Craig Newman via telephone. He told me that

he would be willing to attend a trial in this lawsuit if it was held in Marshall, Texas, but that he

would not be willing to do so if the case were transferred to the Northern District of California.

             5.       On January 25, 2022 I spoke with Kevin Watson via telephone. He told me that

he would be willing to attend a trial in this lawsuit if it was held in Marshall, Texas, but that he

would not be willing to do so if the case were transferred to the Northern District of California.

          6.          Attached as Exhibit 1 is a true and accurate copy of

                  .

          7.          Attached as Exhibit 2 is a true and accurate copy of                   deposition

held on                           .

          8.          Attached as Exhibit 3 is a true and accurate copy of                   deposition

held on                               .

          9.          Attached as Exhibit 4 is a true and accurate copy of              deposition held

on                            .

          10.         Attached as Exhibit 5 is a true and accurate copy of              deposition held

on                            .

          11.         Attached as Exhibit 6 is a true and accurate printout of Mark D. Simpson’s Saul

Ewing Arnstein & Lehr’s firm bio.

          12.         Attached as Exhibit 7 is a true and accurate copy of

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          13.    Attached as Exhibit 8 is a true and accurate copy of                    deposition

held on                    .

          14.    Attached as Exhibit 9 is a true and accurate copy of                    deposition

held on                    .

          15.    Attached as Exhibit 10 is a true and accurate copy of

deposition held on                    .

          16.    Attached as Exhibit 11 is a true and accurate copy of               deposition held

on                    .

          17.    Attached as Exhibit 12 is a true and accurate copy of Legal Metrics’ District

Report California Northern District Court in Patent Cases from January 2017–September 2021.

          18.    Attached as Exhibit 13 is a true and accurate copy of Legal Metrics’ District

Report Texas Eastern District Court in Patent Cases from January 2017–September 2021.

          I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

Dated: January 28, 2021




                                                              /s/ Matthew Veenstra
                                                                Matthew Veenstra




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